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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
UNITED STATES OF AMERICA

V.                                                    1:17CR-00224-AT-CMS

ALLAN PENDERGRASS

         PRELIMINARY MOTION TO DISMISS BASED ON DOUBLE JEOPARDY

       Comes now Defendant, by and through counsel and respectfully moves to dismiss

this matter based on double jeopardy grounds and shows this Court as follows:

                                                 1.

       As this Court is aware, Defendant was brought by writ into this District after serving time

in another District. The matter he was convicted of may be related to this matter. Defendant

would like to perfect this Motion if appropriate, after a review of the enormous amount of

evidence in both cases. Defendant would like to inquire on this issue and sof any did occur and of

so to amend this motion.

WHEREFORE, Defendant prays;

1. That a hearing be held,

2. That if said indictment is violative of the double jeopardy clause it be dismissed and

3. For such other relief that this Court deems appropriate.
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                                                     Respectfully submitted,

                                                     S/Robert H. Citronberg

                                                     ___________________
                                                     Robert H. Citronberg
                                                     Attorney for Defendant(CJA)
                                                     State Bar #126275
Suite 4100
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Atlanta, Ga. 30308
(404) 522-7450
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                                     CERTIFICATE OF SERVICE


       It is hereby certified that the foregoing motion was served electronically on:

Mr. Jeff Brown
Assistant United States Attorney
75 Spring St., SW
Atlanta, Ga. 30303.

This 24th day of August, 2017

                                                     S/Robert H. Citronberg
                                                     ____________________________
                                                     Robert H. Citronberg
                                                     Attorney for Defendant

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303 Peachtree St.,
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